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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                      CRIMINAL MINUTES

Date: March 30, 2022             Time: 5 hours 31 minutes        Judge: MAXINE M. CHESNEY


Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. Fujian Jinhua Integrated Circuit, Co.
2

Attorney for Plaintiff: Laura Vartain, Nicholas Walsh, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

 Deputy Clerk: Tracy Geiger                        Court Reporter: Ruth Levine Ekhaus

                                          PROCEEDINGS

Bench Trial – Day Nineteen

Government witness(es): Cross examination of Dr. Thomas Dyer.
                        Mark Durcan, Terrence Daly

CASE CONTINUED TO: March 31, 2022 at 9:00 a.m. for Continued Bench Trial


Admitted Trial Exhibits:

Government Exhibits: 849, 850, 851, 852, 853, 854, 855, 856, 857, 858, 859, 860, 861, 862, 863, 864,
865, 866, 867, 868, 869, 870, 871, 872, 873, 874, 875, 876, 877, 878, 879, 880, 881, 894, 1053, 1533

Defense Exhibits: 3049, 3061, 3162, 3163, 4812
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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

Case No: 18-cr-00465-MMC-2
Case Name: USA v. Fujian Jinhua Integrated Circuit, Co. Ltd.

                             TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                               PLAINTIFF ATTORNEY:                   DEFENSE ATTORNEY:
Maxine M. Chesney                    Laura Vartain, Nicholas Walsh,        Jack DiCanio, Emily Reitmeier,
                                     Nicholas Hunter, Stephen Marzen       Matthew Sloan
TRIAL DATE:                          REPORTER(S):                          CLERK:
March 30, 2022                       Ruth Levine Ekhaus                    Tracy Geiger

PLF    DEF    DATE/TIME
NO.    NO.    OFFERED           ID      REC     DESCRIPTION                                          BY
              9:00 AM                           Court reconvened – all counsel present.
                                                Defense counsel updated the Court that the
                                                Witnesses have made an application to have
                                                Remote testimony taken at US consulate and are
                                                Waiting for approval.
                                                Three additional defense witnesses are in a
                                                Province that is on lock-down.
                                                Government counsel believes that it would be
                                                Preferable to have the remote testimony from the
                                                Embassy and that letters rogatory would probably
                                                Be necessary.
              9:22 AM                           Defense counsel informed the Court that they
                                                Have substituted defense exhibit 3049 with a copy
                                                That has Bates number(s) on the document.
                                                Government counsel has no objection to 3049
                                                As to authenticity.
       3049   3/30/2022        X        X
       4812   3/30/2022        X        X
              9:33 AM                           Continued cross examination of Dr. Thomas Dyer       Dft
       4806                    X
       4858                    X
       3061   3/30/2022        X        X
       3162                    X
       3163                    X
              10:32 AM                          Court recess
              10:53 AM                          Court reconvened
                                                      1
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       3162   3/30/2022     X     X
       3163   3/30/2022     X     X
              10:57 AM                   Re-direct examination of Dr. Thomas Dyer   Gvt
849           3/30/2022     X     X
850           3/30/2022     X     X
851           3/30/2022     X     X
852           3/30/2022     X     X
853           3/30/2022     X     X
854           3/30/2022     X     X
855           3/30/2022     X     X
856           3/30/2022     X     X
857           3/30/2022     X     X
858           3/30/2022     X     X
859           3/30/2022     X     X
860           3/30/2022     X     X
861           3/30/2022     X     X
862           3/30/2022     X     X
863           3/30/2022     X     X
864           3/30/2022     X     X
865           3/30/2022     X     X
866           3/30/2022     X     X
867           3/30/2022     X     X
868           3/30/2022     X     X
869           3/30/2022     X     X
870           3/30/2022     X     X
871           3/30/2022     X     X
872           3/30/2022     X     X
873           3/30/2022     X     X
874           3/30/2022     X     X
875           3/30/2022     X     X
876           3/30/2022     X     X
877           3/30/2022     X     X
878           3/30/2022     X     X
879           3/30/2022     X     X
880           3/30/2022     X     X
881           3/30/2022     X     X
1053          3/30/2022     X     X
              11:19 AM                   Re-cross examination of Dr. Thomas Dyer    Dft
                                              2
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       11:26 AM                   Re-cross examination concluded
                                  Court questioned witness.
       11:28 AM                   Witness excused
                                  Government witness: MARK DURCAN
       12:01 PM                   Court recess
       1:02 PM                    Court reconvened
                                  Continued direct examination of Mark Durcan   Gvt
       1:24 PM                    Cross examination of Mark Durcan              Dft
       1:43 PM                    Witness excused
                                  Defense counsel objects to Terrence Daly’s
                                  Demonstrative No. 7.
       2:03 PM                    Government witness: TERRENCE DALY
       2:34 PM                    Court recess
       2:51 PM                    Court reconvened
       2:52 PM                    Continued direct of Terrence Daly             Gvt
1533   3/30/2022     X     X      Daly Demonstrative 5
894    3/30/2022     X     X
       4:10 PM                    Court recess




                                       3
